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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES CIVIL ACTION NO, 05-4182
CONSOLIDATED LITIGATION
SECTION “K”
MAGISTRATE (2)

PERTAINS TO: Levee (05-4181 and 05-6073)
MRGO (05-4181) JUDGE DUVAL
Responder (05-4181)
MAG. WILKINSON

MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

GOTECH, Inc.{GOTECH) is an engineering and surveying company, which provided
engineering and surveying services as a subconsultant to Burk-Kleinpeter, Inc. (BKI) on the London
Avenue Canal Floodwall Improvements back in 1993. GOTECH has been made a defendant in the
two above captioned suits, only.

GOTECH respectfully submits that all claims against GOTECH should be dismissed,
because (1) GOTECH performed work only on the London Avenue Canal and not on the 17“ Street
Canal, the Orleans Avenue Canal, the Inner Harbor Navigation Canal (the Industrial Canal) the
Mississippi River Gulf Outlet (MRGO); and (2) the claims against GOTECH for the engineering and
surveying services provided on the London Avenue Canal are perempted by LSA-RS 9:5607. The
' work performed by GOTECH occurred well more than ten years prior to Hurricane Katrina and the
lawsuits which followed.

Very similar issues are already before the Court in a Joint Motion for Summary Judgment

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filed by BKI, Eustis Engineering Co., Inc. and Modjeski and Masters, Inc. [Doc. 463] now set for
hearing on August 25, 2006. GOTECH specifically adopts the following from the Joint Motion to
the extent applicable to the claims against GOTECH:

» Memorandum in Support of Joint Motion [Doc. 463-2]

> Declaration of Michael G. Jackson [Doc. 463-4]

> BKI Exhibits 1 - 19 [Doc. 463-5]

> BKI Statement of Material Facts [Doc. 463-6]

» Appendix - Eustis Engineering Co. [Doc. 463-7]

» Statement of Undisputed Material Facts - Eustis [Doc. 463-8]

> Appendix - Modjeski [Doc. 463-9]

» Appendix - Modjeski 2 [Doc. 463-10]

GOTECH also adopts the arguments and evidence provided in the following previous

filings by the engineers to the extent applicable to the claims against GOTECH:

> Joint Reply on Behalf of the Engineers [Doc. 747-1]

> Joint Appendix on Behalf of Engineers and Exhibit 1 - Exhibit 5 [Doc. 747-2]

» Engineers’ Exhibit 6 - Exhibit 10 [Doc. 747-3]

> Engineers’ Exhibit 11 - Exhibit 14 [Doc. 747-4]

» Supplemental Reply - BKI [Doc. 747-5]

GOTECH additionally adopts the arguments and evidence put forth in the Supplemental
Memorandum in Support of BKI [Doc. 792] to the extent applicable to the claims against GOTECH.

The only additional evidence provided herein is the affidavits of two GOTECH

representatives who worked on the London Avenue Canal project , RHAOUL A. GUILLAUME,

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P.E. and BRUCE K. DYSON, P.E., P.L.S., attached as GOTECH Exhibits A and B and a License
Verification, attached as Exhibit C. Mr. Guillaume is the principal of GOTECH and worked on the
London Avenue Canal as the contract administrator for GOTECH, meaning he negotiated the
contract with BKI and made sure the invoices went out and were paid.' Mr. Dyson served as
GOTECH’s project manager, which meant he coordinated the preparation of the drawings and
specifications for the levees and floodwalls on the west bank of the London Avenue Canal in
accordance with the United Sates Army Corp of Engineers’ (USACE) guidelines.? Both affiants
are engineers.’
The GOTECH engineers state their firm was not involved in the other levees which are the
subject of this suit. Both affidavits state
Neither GOTECH nor any of its personnel had
anything to do with the design, construction,
construction administration or inspection of any
construction of any floodwalls or levees which failed
along the 17" Street Canal, the Industrial Canal and
the Orleans Avenue Canal in New Orleans during
Hurricane Katrina.‘
Additionally, both engineers state their firm was not involved in the design or construction

of the MRGO..’

The GOTECH engineers also state their firm was involved in the design of portions of the

'GOTECH Exhibit A- Affidavit of Rhaoul A. Guillaume, P.E., at par.3.
*GOTECH Exhibit B - Affidavit of Bruce K. Dyson, P.L.S., at par. 3.
*Exhibit A, at par. 2; Exhibit B, at par. 2.

“Exhibit A, at par. 5; Exhibit B, at par. 5.

*Exhibit A, at par. 6; Exhibit B, at par. 6.

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London Avenue Canal floodwalls and levees, in accordance with the USACE guidelines,° but that
work was performed and completed more than 10 years before Hurricane Katrina hit New Orleans.
The work of GOTECH started in January,1993 and was completed in November, 1993, as

supported by the GOTECH invoices to BKI for services rendered.”
GOTECH was not involved in the “inspection” of the construction.? Both Mr. Guilluame

and Mr. Dyson state :

° The Agreement between GOTECH and BKI specifically stated
“...construction administration services and resident inspection services are
not required of [GOTECH] unless the US Army Corps of Engineers

authorizes the OWNER [Orleans Levee Board] to perform these services.””

. BKI did not request that GOTECH provide construction administration
services or resident inspection services for this project.!°

. GOTECH did not provide construction administration services or resident
inspection services for this project.!!

° GOTECH did not request payment for construction administration services
or resident inspection services for this project.’

In summary, the plaintiffs claims against GOTECH in these two cases should be dismissed.

GOTECH was only involved in the design of the London Avenue Canal project. The claims arising

“Exhibit A, at par.7; Exhibit B, at par. 4 and 7.
*Exhibit A, at par. 8 and 9; Exhibit B, at par. 8 and 9.
*As that term is use in La. R.S. 9:5607 A (3).
"Exhibits A and B, par. 10.

MId., par. 11.

"Id., par. 12.

"Id., par. 13.

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out of those services are perempted by La. R.S. 9:5607, because the services were completed more
than 10 years before Hurricane Katrina.
For these reasons, the demands of plaintiffs in both cases against GOTECH, Inc. should be

dismissed, with prejudice, at plaintiffs’ costs.

By attorneys:

LONG LAW FIRM, L.L.P.

bhu/Ml.

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CERTIFICATE

IT HEREBY CERTIFY that a copy of the above and foregoing has been forwarded to all
counsel of record via electronic mail,

Baton Rouge, ET

"ADRIAN G. NADEAU

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